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      Virginia Giuffre and Prince Andrew have reached an out of court

settlement. The parties will file a stipulated dismissal upon Ms. Giuffre’s

receipt of the settlement (the sum of which is not being disclosed). Prince

Andrew intends to make a substantial donation to Ms. Giuffre’s charity in

support of victims’ rights. Prince Andrew has never intended to malign Ms.

Giuffre’s character, and he accepts that she has suffered both as an established

victim of abuse and as a result of unfair public attacks. It is known that Jeffrey

Epstein trafficked countless young girls over many years. Prince Andrew

regrets his association with Epstein, and commends the bravery of Ms. Giuffre

and other survivors in standing up for themselves and others. He pledges to

demonstrate his regret for his association with Epstein by supporting the fight

against the evils of sex trafficking, and by supporting its victims.
